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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
IN RE FACEBOOK BIOMETRIC DECLARATION OF MARK
INFORMATION PRIVACY LITIGATION ZUCKERBERG IN SUPPORT OF THE
MOTION OF FACEBOOK, INC. AND

MARK ZUCKERBERG TO QUASH
PLAINTIFFS’ SUBPOENA TO APPEAR

THIS DOCUMENT RELATES TO: any TESTIFY AT A HEARING OR

ALL ACTIONS Master Docket No.: 3:15-CV-03747-JD

Hon. James Donato

 

 

 

I, Mark Zuckerberg, hereby declare as follows:

1. I am the Chairman and Chief Executive Officer of Facebook, Inc. (“Facebook”),

D: I make this declaration on my own personal knowledge and, if called upon as a
witness to do so, I could and would competently testify as to the matters set forth herein.

3. I have been informed by counsel that the above-captioned matter is a lawsuit
brought by Illinois residents under the Illinois Biometric Information Privacy Act, alleging that
Facebook used facial-recognition technology to analyze their photos, and to create and store

“templates” for them, without giving them adequate notice or obtaining their consent.

 

DECLARATION OF MARK ZUCKERBERG
MASTER CASE NO. 3:15-CV-03747-JD
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4, I do not have any unique personal knowledge of this case, or of any of the facts
and claims at issue in this case. I was not directly involved in the creation or design of
Facebook’s facial-recognition technology; nor do I have day-to-day responsibility for
formulating or implementing the decisions or policies related to the technology.

SF Instead, Facebook employs people who are responsible for Facebook’s facial-
recognition technology, the uses of that technology, and the policies related to it. I rely on
periodic briefings from those individuals for my knowledge of these issues.

I declare under penalty of perjury under the laws of the-State-of___——_—_»and-the
United States that the foregoing is true and correct.

| sr
Executed thisQ’ day of May, 2018 #———_______ .

YV.

Mark Zuckerberg

 

 

 

DECLARATION OF MARK ZUCKERBERG
MASTER CASE NO. 3:15-CV-03747-JD
